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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS
                                 BOSTON DIVISION


 MMAS RESEARCH LLC, a Washington
 Limited Liability Company,                               Case No.: 1:24-CV-12108-DJC

                Plaintiff,
        v.

 BOSTON CHILDREN HOSPITAL, et al.,

                Defendants.


                             RULE 7.1 DISCLOSURE STATEMENT

       Pursuant to Rule 7.1(a)(1) of the Federal Rules of Civil Procedure, Plaintiff MMAS

Research LLC (“Plaintiff”) hereby states that it has no parent corporation and that no publicly held

corporation owns 10% or more of its stock.

       Pursuant to Rule 7.1(a)(2) of the Federal Rules of Civil Procedure, Plaintiff hereby names

and identifies the citizenship of the following individuals and entities whose citizenship is

attributed to MMAS Research LLC:

       •       MMAS Research LLC is a limited liability company formed under the laws

               of Washington. MMAS Research LLC has three members: Steven Trubow

               is a citizen of California; Rodney Watkins is a citizen of California; and

               Aron Trubow is a citizen of Washington.




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Dated: September 18, 2024                Respectfully submitted,

                                         Persepolis Law, PLLC

                                         By: /s/ Ashkon Roozbehani
                                             Ashkon Roozbehani, Esq. (BBO # 694483)
                                             Persepolis Law, PLLC
                                             809 Washington St., Suite A
                                             Newton, MA 02460
                                             T. (617) 431-4329
                                             persepolaw@gmail.com

                                             Attorney for Plaintiff
                                             MMAS Research LLC




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 17th day of September, 2024, Plaintiff MMAS Research

LLC’s Rule 7.1 Disclosure Statement was served, via electronic delivery, to Defendants’ counsel

via CM/ECF system which will forward copies to Defendants’ counsel of record.

 Dated: September 18, 2024                        /s/ Ashkon Roozbehani
                                                  Ashkon Roozbehani




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